Case 1:19-cv-07511-JGK Document 15 Filed 10/15/19 Page 1 of 17

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

)
JESSICA CORREA, )
)
Plaintiff, )
)
yo
) No. 1:19-CV-07511-IGK
Vv. )
| )
TROUTMAN SANDERS LLP and )
GERALD FRANCESE )
)
Defendants. )
)

 

DEFENDANT GERALD FRANCESE’S ANSWER AND
AFFIRMATIVE DEFENSES TO PLAINTIFF’S COMPLAINT

Defendant Gerald Francese (“Francese”), by and through his attorneys, Harris St. Laurent
LLP., hereby responds as follows to the allegations in the Complaint brought by Plaintiff Jessica
Correa, filed August 12, 2019 (“Complaint”), insofar as they are made against him. To the extent
that the Complaint’s headings or subheadings contain factual allegations, they are hereby denied.

ANSWER

1. Paragraph | purports to characterize Plaintiff's federal claims and states legal
conclusions, and therefore does not require a response. To the extent a response is required,
Francese denies all of the allegations contained in Paragraph 1, including any allegation that
Francese engaged in sex discrimination, sexual harassment, or retaliation against Plaintiff or in

any way violated Title VII.

2. Paragraph 2 purports to characterize Plaintiff's state law claims and states legal
conclusions, and therefore does not require a response. To the extent a response is required,

Francese denies all of the allegations contained in Paragraph 2, including the allegation that

1

 
Case 1:19-cv-07511-JGK Document 15 Filed 10/15/19 Page 2 of 17

Francese engaged in sex discrimination, sexual harassment, or retaliation against Plaintiff or in

any way violated NYSHRL or the NYCHR.

3, Paragraph 3 lists the relief Plaintiff is seeking in this lawsuit, characterizes
Plaintiff's claims and states legal conclusions, and therefore does not require a response. To the
extent a response is required, Francese denies that Plaintiff is entitled to the relief she seeks and

denies all of the allegations contained in Paragraph 3.

4, Paragraph 4 states legal conclusions to which no response 1s required. To the
extent a response is required, Francese denies all of the allegations contained in Paragraph 4 and

further denies any implicit allegation that he engaged in improper conduct covered by Title VIL.

5. Paragraph 5 states legal conclusions to which no response is required, To the
extent a response is required, Francese admits that this Court may assert supplemental

jurisdiction over Plaintiff's state law claims.

6, Paragraph 6 states a legal conclusion to which no response is required. To the
extent a response is required, Francese admits that venue is proper in the Southern District of
New York, but denies any implicit allegation that he engaged in improper conduct of any kind or

that the claims asserted against him have merit.

7. Francese lacks knowledge or information sufficient to form a belief as to the truth

of the allegations contained in Paragraph 7, and denies those allegations on that basis.

8. Francese lacks knowledge or information sufficient to form a belief as to the truth

of the allegations contained in Paragraph 8, and denies those allegations on that basis.

9, Francese lacks knowledge or information sufficient to form a belief as to the truth

of the allegations contained in Paragraph 9, and denies those allegations on that basis.

 
Case 1:19-cv-07511-JGK Document 15 Filed 10/15/19 Page 3 of 17

10. Francese denies the allegations contained in Paragraph 10.
11. Francese admits the allegations contained in Paragraph 11.
12. Francese admits the allegations contained in Paragraph 12.

13. Francese admits that he is a white male who is currently fifty-eight years old and
is a former partner at Troutman. Francese denies the remaining allegations contained in

Paragraph 13.

14. _ Francese denies the allegations in Paragraph 14 as they pertain to him. Francese
lacks knowledge or information sufficient to form a belief as to the truth of the allegations

pertaining to Troutman, and denies those allegations on that basis,

15. Francese denies the allegation contained in Paragraph 15 that Plaintiff is “highly
skilled”. He lacks knowledge or information sufficient to form a belief as to the truth of the

remaining allegations, and denies those allegations on that basis.

16. Francese lacks knowledge or information sufficient to form a belief as to the truth

of the allegations contained in Paragraph 16, and denies those allegations on that basis.

17. Francese admits the allegations contained in Paragraph 17, and asserts that

Plaintiff was also assigned to work for several other attorneys at the Troutman.

18. Francese denies the allegations in Paragraph 18 as they pertain to him. He lacks
knowledge or information sufficient to fort a belief as to the truth of the remaining allegations,

and denies those allegations on that basis.
19. Francese admits the allegations contained in Paragraph 19,

20. Francese admits the allegations contained in Paragraph 20.

 
Case 1:19-cv-07511-JGK Document 15 Filed 10/15/19 Page 4 of 17

21. Francese lacks knowledge or information sufficient to form a belief'as to the truth

of the allegations contained in Paragraph 21, and denies those allegations on that basis.

22.  Francese lacks knowledge or information sufficient to form a belief as to the truth

of the allegations contained in Paragraph 22, and denies those allegations on that basis.
23. Francese denies the allegations contained in Paragraph 23.
24,  Francese denies the allegations contained in Paragraph 24.

25. Francese admits that he returned to Troutman’s New York office in February

2017, but denies the remaining allegations contained in Paragraph 25.
26. _ Francese denies the allegations contained in Paragraph 26.
27. Francese denies the allegations contained in Paragraph 27,
28. Francese.denies the allegations contained in Paragraph 28.

29. Francese admits to scheduling a weekly meeting with Plaintiff due to her repeated
performance issues in processing expense reports and inputting of his recorded time, but denies

the remaining allegations contained in Paragraph 29.
30. Francese denies the allegations contained in Paragraph 30.
31.  Francese denies the allegations contained in Paragraph 31.
32.  Francese denies the allegations contained in Paragraph 32.
33. Francese denies the allegations contained in Paragraph 33.
34. Francese denies the allegations contained in Paragraph 34.

35. Francese denies the allegations contained in Paragraph 35.

 
Case 1:19-cv-07511-JGK Document 15 Filed 10/15/19 Page 5 of 17

36.  Francese denies the allegations contained in Paragraph 36.
37.  Francese denies the allegations contained in Paragraph 37.
38.  Francese denies the-allegations contained in Paragraph 38.
39. Francese denies the allegations contained in Paragraph 39.
40. Francese denies the allegations contained in Paragraph 40.
41. Francese denies the allegations contained in Paragraph 41.
42. Francese.denies the allegations contained in Paragraph 42.
43.  Francese denies the allegations contained in Paragraph 43.
44. _ Francese denies the allegations contained in Paragraph 44.
45.  Francese denies the allegations contained in Paragraph 45.

46.  Francese denies the allegations in Paragraph 46 as they pertain to him, except he
admits only that Plaintiff regularly volunteered information about her family at work. Francese
lacks. knowledge or information sufficient to form a belief as to the truth of the remaining

allegations, and denies those allegations on that basis.
47.  Francese denies the allegations contained in Paragraph 47.

48. Francese admits that he kept candy in his office and would occasionally “chat”
with Plaintiff about her family and personal life, but he denies the remaining allegations

contained in Paragraph 48.

49, Francese admits that Plaintiff repeatedly asked him for financial assistance and
that he generously loaned her money on at least three occasions. He lacks knowledge or
information sufficient to form a belief as to the truth of the remaining allegations contained in

5

 
Case 1:19-cv-07511-JGK Document 15 Filed 10/15/19 Page 6 of 17

Paragraph 49, and denies those allegations on that basis.

50.

Francese denies the allegations contained in Paragraph 50; except he admits that

Plaintiff toid him on multiple occasions that she was experiencing financial crises.

31.

32.

53,

54.

55.

56.

Francese denies the allegations contained in Paragraph 51.
Francese denies the allegations contained in Paragraph 52.
Francese denies the allegations contained in Paragraph 53.
Francese denies the allegations contained in Paragraph 54.
Francese denies the allegations contained in Paragraph 55,

Francese denies the allegations contained in Paragraph 56; except he admits only

that in 2017 he planned a vacation for himself and family to Mexico.

57.

58.

39,

60.

61,

Francese denies the allegations contained in Paragraph 57.
Francese denies the allegations contained in Paragraph 58.
Francese denies the allegations contained in Paragraph 59.
Francese denies the’allegations contained in Paragraph 60.

Francese denies the allegations contained in Paragraph 61; except he admits only

that in September 2017, Plaintiff was assigned to support a partner in the Construction section.

62.

Francese denies knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 62, and denies those allegations on that basis.

63.

Francese denies the allegations contained in Paragraph 63; except he admits only

that Francese and Plaintiff attended a fundraising event in October 2017, and that he introduced

 
Case 1:19-cv-07511-JGK Document 15 Filed 10/15/19 Page 7 of 17

Plaintiff to acquaintances and friends at the event as his secretary.
64. Francese denies the allegations contained in Paragraph 64.

65.  Francese denies the allegations contained in Paragraph 65; except he admits only
that he repeatedly warned Plaintiff that her frequent absences and tardiness may become an issue

for Troutman’s HR department, to whom she reported.

66.  Francese denies the allegations contained in Paragraph 66; except he admits only
that he occasionally communicated to Plaintiff that he wanted her to succeed at her job and made

suggestions on how she could improve.
67.  Francese denies the allegations contained in Paragraph 67.
68. -Francese denies the allegations contained in Paragraph.68.
69.  Francese denies the allegations contained in Paragraph 69.
70. Francese denies the allegations contained in Paragraph 70.
71. Francese denies the allegations contained in Paragraph 71.
72, Francese denies the allegations contained in Paragraph 72.
73. Francese denies the allegations contained in Paragraph 73.
74. Francesé denies the allegations contained in Paragraph 74.
75. Francese denies the allegations contained in Paragraph 75.
76. Francese denies the allegations contained in Paragraph 76.
77, Francese denies the allegations contained in Paragraph 77.

78. Francese denies the allegations contained in Paragraph 78.

 
Case 1:19-cv-07511-JGK Document 15 Filed 10/15/19 Page 8 of 17

79,  Francese denies the allegations contained in Paragraph 79.
80. Francese denies the allegations contained in Paragraph 80.
81. Francese denies the allegations contained in Paragraph 81.
82. Francese denies the allegations contained in Paragraph 82.
83. Francese denies the allegations contained in Paragraph 83.
84. Francese denies the allegations contained in Paragraph 84.
85.  Francese denies the allegations contained in Paragraph 85.
86.  Francese denies the allegations contained in Paragraph 86.
87.  Francese denies the allegations contained in Paragraph 87.
88.  Francese denies the allegations contained in Paragraph 88,
89. Francese denies the allegations contained in Paragraph 89.

90.  Francese lacks knowledge or information sufficient to form a belief as to the truth

of the allegations contained in Paragraph 90, and denies those allegations on that basis.

91. Francese denies the allegations in Paragraph 91 as they pertain to him. He lacks
knowledge or information sufficient to form a belief as to the truth of the allegations contained in

Paragraph 91, and denies those allegations on that basis,
92. Francese denies the allegations contained in Paragraph 92,

93.  Francese denies the allegations contained in Paragraph 93; except he admits that,
in April 2018, he took Plaintiff to lunch because she was upset about having received a bad

performance review. Francese also admits that, after lunch, he took Plaintiff to a flower shop

 
Case 1:19-cv-07511-JGK Document 15 Filed 10/15/19 Page 9 of 17

close to the office to buy a replacement orchid plant for his office and that he also purchased one
for Plaintiff's desk area. Francese admits that the calendar entry for this event was entitled

“Plant Shop.”
94,  Francese denies the allegations contained in Paragraph 94.
95. Francese denies the allegations contained in Paragraph 95.
96.  Francese denies the allegations contained in Paragraph 96.

97.  Francese denies the allegations contained in Paragraph 97; except he admits only
that Plaintiff ate some of her tunch while at the table and asked the server to wrap up the rest of

her food to go.

98.  Francese denies the allegations contained in Paragraph 98; except he admits only
that Plaintiff complained over lunch about the fact that she would not be getting a raise, and he

urged her to improve her work performance going forward.

99.  Francese denies the allegations contained in Paragraph 99; except he admits only
that, after lunch, he and Plaintiff stopped at a flower shop where he purchased an orchid plant for

his office and one for Plaintiff's desk area.

100. Francese lacks knowledge or information sufficient to form a belief as to the truth

of the allegations contained in Paragraph 100, and denies those. allegations on that basis.

101. Francese denies the allegations contained in Paragraph 101 to the extent they
imply that he ever engaged in sexually harassing behavior. He lacks knowledge or information
sufficient to form a belief as to the truth or falsity of any communications Plaintiff may have had
with Associate Dennett, and thereby denies those and ail other remaining allegations in

Paragraph 101.
Case 1:19-cv-07511-JGK Document15 Filed 10/15/19 Page 10 of 17

102. Francese denies the allegations contained in Paragraph 102 to the extent they
imply that he ever engaged in sexually harassing behavior. He lacks knowledge or information
sufficient to form a belief as to the truth or falsity of the remaining allegations, and denies those

allegations on that basis.

103.  Francese denies the allegations contained in Paragraph 103 to the extent they
imply that he sexually harassed Plaintiff. He lacks knowledge or information sufficient to form.a
belief as to the truth or falsity of the remaining allegations, and denies those allegations on that

basis.

104. Francese denies the allegations contained in Paragraph 104 to the extent they
imply that he engaged in “grossly inappropriate touching, propositioning, abusive and vulgar
comments” or that he “alienated” Plaintiff in any way. He lacks knowledge or information
sufficient to form a belief as to the truth or falsity of the remaining allegations, and denies those

allegations on that basis.

105. Francese lacks knowledge or information sufficient to form a belief as to the truth.

of the allegations contained in Paragraph 105, and denies those allegations on that basis.

106. Francese lacks knowledge or information sufficient to form a belief as to the truth

of the allegations contained in Paragraph 106, and denies those allegations on that basis.
107. Francese denies the allegations contained in Paragraph 107.

108. Francese lacks knowledge or information sufficient to form a belief as to the truth

of the allegations contained in Paragraph 108, and denies those allegations on that basis.

109. Francese denies the allegations contained in Paragraph 109 as they relate to his

alleged conduct or any purported psychological stress stemming from this alleged conduct.

10

 
Case 1:19-cv-07511-JGK Document15 Filed 10/15/19 Page 11 of 17

Francese lacks knowledge or information sufficient to form a belief as to the truth of the

remaining allegations contained in Paragraph 109, and denies those allegations on that basis.
110. Francese denies the allegations contained in Paragraph 110.
11}. Francese denies the allegations contained in Paragraph 111.

112. Francese incorporates his responses to Paragraphs 1 through 111 as if fully set

forth herein.

113. Paragraph 113 states legal conclusions to which no response. is required. To the

extent a response is required, Francese admits that Plaintiff presents herself as a female.
114, Francese denies the allegations contained in Paragraph 114.
115. Francese denies the allegations contained in Paragraph 115.
116. Francese denies the allegations contained in Paragraph 116.
117. Francese denies the allegations contained in Paragraph 117.
118. Francese denies the allegations contained in Paragraph 118.
119, Francese denies the allegations contained in Paragraph 119.
120. Francese denies the allegations contained in Paragraph 120.
121. Francese-denies the allegations contained in Paragraph 121.

122. Francese incorporates his responses to Paragraphs 1 through 121 as if fully set

forth herein.

123. Paragraph 123 states legal conclusions to which no response 1s required. To the

extent a response is required, Francese admits that Plaintiff presents herself as a female.

1]

 
Case 1:19-cv-07511-JGK Document15 Filed 10/15/19 Page 12 of 17

124. Francese denies the allegations contained in Paragraph 124.
125. Francese denies the allegations contained in Paragraph 125.
126. Francese denies the allegations contained in Paragraph 126.
127, Francese denies the allegations contained in Paragraph 127.
128. Francese denies the allegations contained in Paragraph 128.
129. Francese denies the allegations contained in Paragraph 129.

130. Francese incorporates his responses to Paragraphs 1 through 129 as if fully set

forth herein.

131. Paragraph 131 states legal conclusions to which no response is required. To the

extent a response is required, Francese admits that Plaintiff presents herself as a female.
132, Francese denies the allegations contained in Paragraph 132.
133. Francese denies the allegations contained in Paragraph 133.
134. Francese denies the allegations contained in Paragraph 134.

135. Francese incorporates his responses to Paragraphs 1 through 134. as if fully set
forth herein.

136. Paragraph 136 states legal conclusions to which no response is required. To the

extent a response is required, Francese admits that Plaintiff presents herself as a female.
137. Francese denies the allegations contained in Paragraph 137.
138. Francese denies the allegations contained in Paragraph 138.

139. Francese denies the allegations contained in Paragraph 139.

12
Case 1:19-cv-07511-JGK Document15 Filed 10/15/19 Page 13 of 17

AFFIRMATIVE DEFENSES
Francese states the following defenses and reserves his right to assert other and additional
defenses, cross claims, and third-party claims not asserted herein of which he becomes aware
through discovery or other investigation as may be appropriate at a later time. In asserting these
defenses, Francese does not assume any burden of proof, persuasion or production with tespect
to any issue where the applicable law places the burden upon Plaintiff.
FIRST AFFIRMATIVE DEFENSE

The Complaint fails to state a claim upon which relief may be granted. Francese was at
all times professional, courteous, and generous in his dealings with Plaintiff, and there is no
credible basis for any allegations to the contrary.

SECOND AFFIRMATIVE DEFENSE

The claims in the Complaint fail, in whole or in part, because Plaintiff's damages, to the:
extent there were any, were not proximately caused by Francese’s conduct. Plaintiff's damages
were instead caused by her poor job performance, her tardiness, and her excessive absences.

THIRD AFFIRMATIVE DEFENSE

The claims in the Complaint fail, in whole or in part, because Francese’s conduct

amounts to nothing more than petty slights or trivial inconveniences.
FOURTH AFFIRMATIVE DEFENSE

The claims in the Complaint are barred, in whole or in part, to the extent Plaintiff's

claims are based on alleged conduct which occurred more than 180 days before Plaintiff filed a

charge of discrimination with the Equal Employment Opportunity Commission (“EEOC”).

13

 
Case 1:19-cv-07511-JGK Document15 Filed 10/15/19 Page 14 of 17

FIFTH AFFIRMATIVE DEFENSE
The claims.in the Complaint are barred, in whole or in part, to the extent Plaintiff never
received a Notice of Right to Sue on her claims from the EEOC.
SIXTH AFFIRMATIVE DEFENSE
The claims in the Complaint fail, in whole or in part, because Francese’s actions were not
sexual in nature, were not unwelcome, and/or were not sufficiently severe or pervasive to amount
to a change in the terms and ‘conditions of Plaintiffs employment.
SEVENTH AFFIRMATIVE DEFENSE
The claims in the Compiaint fail, in whole-or in part, by Plaintiff's failure to mitigate
damages.
EIGHTH AFFIRMATIVE DEFENSE
In the event Plaintiff prevails on one or more of her claims under Title VII, any
compensatory and punitive damages she is awarded must be limited by the damages limitations
provisions of 42 U.S.C. § 1981a(b).
NINTH AFFIRMATIVE DEFENSE
Plaintiff's claims for punitive damages fail because Francese’s conduct was not willful

and did not constitute malice or conscious indifference to consequences.

14
Case 1:19-cv-07511-JGK Document15 Filed 10/15/19 Page 15 of 17

TENTH AFFIRMATIVE DEFENSE

The claims in the Complaint are barred, in whole or in part, by the doctrine of unclean

hands.
ELEVENTH AFFIRMATIVE DEFENSE

The claims in the Complaint fail, in whole or in part, due to Plaintiff’s failure to timely
report the alleged conduct to Troutman and to avail herself of Troutman’s policies and
procedures implemented to address discrimination claims.

TWELTH AFFIRMATIVE DEFENSE

Plaintiffs’ claims, to the extent they allege retaliation, fail, in whole or in part, because
Francese had no involvement in Troutman’s handling of Plaintiffs complaint or in any decisions
it made with respect to her employment status. Troutman’s alleged conduct cannot be attributed
to Francese.

THIRTEENTH AFFIRMATIVE DEFENSE

Francese hereby adopts and incorporates by reference any and all other defenses asserted

or to be asserted by Troutman to the extent Francese may share in such defense.
PRAYER FOR RELIEF

Based upon the foregoing, Francese prays that (a) judgment be entered dismissing the

Complaint on the merits, in its entirety and with prejudice, and (b) this Court grant him such

other relief as it deems just and proper including costs and reasonable legal fees.

15

 
Case 1:19-cv-07511-JGK Document15 Filed 10/15/19 Page 16 of 17

Dated: October 15, 2019
New York, New York

 

a

Lindsey R. Skibell, Esq. (rskibell@hs-law.com)
Cheryl A. Mitchel, Esq. (cmitchell@hs-law.com)
HARRIS ST. LAURENT LLP

40 Wall Street, 53rd Floor

New York, New York 10005

(212) 397-3370

 

Attorneys for Defendant Gerald Francese

16
Case 1:19-cv-07511-JGK Document15 Filed 10/15/19 Page 17 of 17

CERTIFICATE OF SERVICE

[hereby certify that on October 15, 2019, I caused a true and correct copy of the attached

3

Defendant Francese’s Answer and Affirmative Defenses to Plaintiff’s Complaint, to be served

upon counsel identified below, via email and first-class mail with postage prepaid, to the

following addresses:

To:

Benjamin N. Dictor (ben@eisnereictor.com)
Andrea A. Pomerantz (andrea@eisnerdictor.com)
EISNER & DICTOR, P.C.

39 Broadway, Suite 1540

New York, NY 10006

Tel.: (212) 473-8700

Attorneys for Plaintiff Jessica Correa

Lance J. Gotko (lgotko@fklaw.com)
Philippe Adler (padler@fklaw.com)

Jamuna D. Kelley (jkellev@fklaw.com)
FRIEDMAN KAPLAN SEILER & ADELMAN LLP

7 Times Square

New York, NY 10036-6516
Tel.: (212) 833-1100

Fax: (212) 373-7996

Attorneys for Defendant Troutman Sanders LLP

Lindsey R. Skibell, Esq. (rskibell@hs-law.com)
Cheryl A. Mitchel, Esq. (cmitchell@hs-law.com)
HARRIS ST. LAURENT LLP

40 Wall Street, 53rd Floor

New York, New York 10005

(212) 397-3370

 

Attorneys for Defendant Gerald Francese

i?

 
